        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
                                              :
WILLIAM WRIGHT WATSON,                        :       18 U.S.C. § 231(a)(3)
                                              :       (Civil Disorders)
                       Defendant.             :
                                              :       18 U.S.C. § 1752(a), (b)(1)(A)
                                              :       (Restricted Building or Grounds with a
                                              :       Deadly or Dangerous Weapon)
                                              :
                                              :       40 U.S.C. § 5104(e)(2)
                                              :       (Violent Entry or Disorderly Conduct)

                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                            AND ARREST WARRANT

       I, Matthew Minshew, being first duly sworn, hereby depose and state as follows:

                                   PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging WILLIAM

WRIGHT WATSON with violations of 18 U.S.C. § 231(a)(3), 18 U.S.C. § 1752(a) & (b)(1)(A),

and 40 U.S.C. § 5104(e)(2). I respectfully submit that this Affidavit establishes probable cause to

believe that WATSON (1) committed or attempted to commit, any act to obstruct, impede, or

interfere with any fireman or law enforcement officer lawfully engaged in the lawful performance

of his official duties incident to and during the commission of a civil disorder which in any way or

degree obstructed, delayed, or adversely affected the performance of any federally protected

function; (2) did knowingly enter or remain in any restricted building or grounds without lawful

authority, or did knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct, and during and in relation



                                                  1
        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 2 of 16




to the offense, used and carried a deadly and dangerous weapon; and (3) did willfully and knowingly

engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress

or either House of Congress, or the orderly conduct in that building of any deliberations of either

House of Congress. Specifically, on or about January 6, 2021, WATSON, while carrying a canister

of mace, knowingly and willfully joined a crowd of individuals who forcibly entered the U.S.

Capitol and impeded, disrupted, and disturbed the orderly conduct of business by the United States

House of Representatives and the United States Senate.

                                 BACKGROUND OF AFFIANT

       2.      I have been employed by the Federal Bureau of Investigation (FBI) as a Special

Agent since May 2016. During my employment with the FBI, I have received training and

experience in investigating various crimes, to include violations relating to Violent Crime, Violent

Crimes Against Children, and International and Domestic Terrorism. I am currently assigned to

the Mobile Field Office, Auburn Resident Agency. In these investigations, I have been involved in

the application for and execution of numerous arrest and search warrants related to the

aforementioned criminal offenses. Through my training and experience, I am familiar with the

actions, habits, traits, methods, and terminology utilized by violent criminal offenders.

       3.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.




                                                  2
        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 3 of 16




                                      PROBABLE CAUSE

                                           Background

       4.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       5.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of

the public.

       6.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       7.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside. The crowd

included many people who expressly objected to the conduct of the proceedings to certify the vote



                                                 3
        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 4 of 16




count of the Electoral College of the 2020 Presidential Election, and who expressly stated that their

purpose was to stop or disrupt those proceedings.

        8.     At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the U.S. Capitol Police, including by

engaging in assaultive and abusive conduct towards officers of the U.S. Capitol Police who were

lawfully attempting to block access to the U.S. Capitol. The crowd then advanced to the exterior

façade of the building. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks by U.S. Capitol Police Officers or other authorized security officials.

        9.     At such time, the certification proceedings, specifically, the proceedings in the

House and Senate to address the objection, were still underway and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted

to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and assisted those

acts.

        10.    Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume



                                                 4
        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 5 of 16




until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

       11.     On July 2, 2020, WILLIAM WRIGHT WATSON, a resident of Alabama, was

charged by the state of Alabama with possession of controlled substances and drug trafficking of

LSD and Marijuana, felonies under Alabama law.

                        WATSON’s Participation in the U.S. Capitol Riot

       12.     On January 11, 2021, WATSON was interviewed by your affiant after waiving his

Miranda rights while in the custody of state of Alabama law enforcement officials for violating his

bond in the state criminal case described above by traveling to Washington, D.C., on January 5,

2021. During the interview, WATSON described his participation in the breach of the U.S. Capitol

on January 6, 2021. The interview was recorded.

       13.     During the interview, among other things, WATSON stated the following:

               a.     During the beginning of the interview, WATSON denied any role in any

               violence, trespassing, vandalism, or other “criminal activity” at the U.S. Capitol on

               January 6, 2021. He proceeded, however, to describe his activities in and around

               the U.S. Capitol building that day.

               b.     According to WATSON, WATSON and Person 1, WATSON’s friend, left

               Auburn, Alabama around 7:00 p.m. on January 5, 2021, and drove through the night

               to Washington, D.C., arriving around 6:30 a.m. on January 6, 2021. WATSON

               stated he went to Washington, D.C., to “support the patriots, support Trump, support

               freedom.” WATSON continued, “I guess the overriding thing for why we were



                                                 5
           Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 6 of 16




                there that day is because they were certifying the fraudulent election that day, and

                so we, to protest that.”

                c.      WATSON stated that after arriving in Washington, D.C., early in the day on

                January 6, 2021, he was by the Ellipse, the area south of the White House.

                According to WATSON, at some point, he saw others walking toward the U.S.

                Capitol and WATSON followed. WATSON worked his way to the front of the

                crowd at the stage which had been set up on the west side of the U.S. Capitol

                Building for the Presidential Inauguration. WATSON also stated that he had been

                following the schedule Alex Jones 1 had promoted, which, according to Watson,

                directed others to meet at the Ellipse at 9:00 a.m. and then the U.S. Capitol at 1:00

                p.m. to protest while Congress was certifying the Electoral College votes.

                d.      WATSON stated he did not bring anything to the event, except a bottle of

                water. He further stated that he brought a taser with him, but left it in the car.

                e.      WATSON stated that, at the law enforcement barriers at the U.S. Capitol,

                the crowd started chanting, among other things, that the law enforcement officers’

                “oaths were to protect us, not them.” WATSON further explained, “I mean, it is to

                protect all of us, but not if they’re committing treason.”

                f.      WATSON claimed that at one point, law enforcement officers began

                spraying tear gas and mace into the crowd. WATSON stated someone “on our side,

                just yelled, ‘Charge,’ and everybody starts going up to the left under the Inauguration



       1
         I know from public sources that Alex Jones is a radio show host who operates the website
InfoWars and that several social media companies have removed InfoWars content from their
platforms or applications based on the companies’ findings that the content promoted conspiracy
theories or disinformation. According to public source reporting, Jones promoted protesting outside
the U.S. Capitol on January 6.

                                                   6
Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 7 of 16




     bleachers . . . and it’s like 100 people there getting stopped, and they’re all, and I

     assumed at the top was ‘cause of riot shields holding people back, but we just started

     all pushing and pushing and pushing and eventually got through that one area and

     then they kind of made another little line and then we pushed on that line and then

     they gave up and after that one, they gave up, completely, and moved the rest of the

     barricades climbing up the steps toward the building and then ushered us, like made

     hand motions for us to go in.”

     g.     WATSON stated he then approached the U.S. Capitol building and began

     banging on windows, “trying to get people to hear me.” After someone else in the

     crowd busted windows and the doors nearby, WATSON went into the U.S. Capitol

     building through a broken window.

     h.     At some point after entry, WATSON stated that he arrived in a hallway with

     several other individuals from the crowd and encountered several law enforcement

     officers. WATSON stated that some of the individuals in the crowd that arrived

     with him had shields and batons and that one man had a spear and was dressed like

     a Viking. WATSON stated that, when they arrived in the hallway, “the police are

     freaking out because it looks like an armed crowd running in there and, at that point,

     was when I went straight up to the first cop and literally got on my knees and was

     like, ‘listen, I want to be peaceful here, we have to be peaceful here. I want to help

     you get these people peaceful so that we can have a conversation.” WATSON

     claimed that, at that point, he worked with the law enforcement officer for

     approximately 30 minutes to get people to calm down.

     i.     WATSON stated that, eventually, the officers escorted him and others out of



                                       7
           Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 8 of 16




                the building and let them leave.

                j.     During the interview, WATSON identified himself in the below photograph 2

                as the individual in the yellow sweatshirt. He identified the individual next to him

                in the photograph as “Viking man.”




                k.     When asked whether WATSON received any guidance or direction from

                others to participate in or to cause violence or criminal activity, WATSON

                responded, “No, it was kind of just what the mob was doing. I was, I was there,

                helping push on their backs.” WATSON also stated he had no prior knowledge the

                event would turn violent and that, in hindsight, he would have stayed back “from the

                area where people were charging at.”


       2
         The red arrow has been added to the screenshot to clearly identify for the Court the
individual your affiant has identified as WATSON.

                                                   8
        Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 9 of 16




               l.     WATSON claimed that, in his opinion, the event turned violent because of

               law enforcement’s “aggressive use of tear gas and pepper balls and mace.”

       14.     On January 11, 2021, before he was taken into custody for violating his bond

conditions in the state criminal case described above, WATSON consented to a search of his

residence. In the residence, your affiant found a yellow sweatshirt matching that in the photograph

above. A photo of the sweatshirt as it was found in WATSON’s residence is below:




       15.     On January 12, 2021, your affiant interviewed U.S. Capitol Police Officer 1

(hereinafter, “USCPO 1”), who was present in the hallway within the U.S. Capitol pictured in the

photograph above.

               a.     USCPO 1 stated that he encountered a group of individuals in the hallway

               that included a man with a beard and wearing a mustard yellow sweatshirt.


                                                9
       Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 10 of 16




              b.      USCPO 1 stated that when he asked if anyone in the crowd had weapons, the

              man pulled out a can of pepper spray and showed it USCPO 1. USCPO 1 stated he

              asked the man to give USCPO 1 the pepper spray, but the man did not hand it over

              and put it back in his sweatshirt pocket. USCPO 1 stated that he did not know

              whether the man heard his request to turn over the pepper spray.

              c.      USCPO 1 stated that the man was quiet and reserved and helped USCPO 1

              try to calm the crowd.

       16.    I have reviewed a video posted on YouTube that was recorded by another participant

in the breach of the U.S. Capitol on January 6, 2021. 3 WATSON can be seen in the video moving

toward the U.S. Capitol Building as the police barriers outside were breached by the crowd. I

recognize WATSON as the individual in the video based on my personal interactions with him and

the mustard yellow sweatshirt he is wearing.

              a.      In the video, WATSON can be seen holding an item that appears to be a

              canister and doing something to the top of it, as seen in the screenshot below 4:




       3
        The video is available here: https://www.youtube.com/watch?v=PfiS8MsfSF4 (last visited
on January 16, 2021).
       4
         The red arrow has been added to the screenshot to clearly identify for the Court the
individual your affiant has identified as WATSON.

                                                10
       Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 11 of 16




               b.      Later in the video, WATSON can be seen holding up the canister in the

               direction of law enforcement officers as WATSON and the crowd breach another

               barrier on the U.S. Capitol Grounds and move toward the U.S. Capitol Building:




       17.     On January 15, 2021, WATSON was interviewed again by your affiant after waiving

his Miranda rights while still in the custody of state of Alabama on the bond revocation in his state

criminal case. The interview was recorded.


                                                 11
       Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 12 of 16




               a.      During the interview, WATSON admitted to having a can of mace at the

               U.S. Capitol building on January 6, 2021.

               b.      Your affiant showed WATSON the screenshots in Paragraph 16 above in

               which WATSON appears to be holding a canister.

               c.      Upon reviewing the first screenshot, WATSON stated that someone had

               given him a can of mace and that he had no idea how to work it. WATSON first

               claimed that the screenshot depicted him, “asking others if they knew how to work

               [the mace] and if they wanted it.” 5 Later during the interview, WATSON admitted

               that he was trying to figure out how to work the canister in case he needed to use it

               against “someone who attacked me.”

               d.      Upon reviewing the second screenshot, WATSON was asked what was in

               his hand. He first responded, “I’m guessing it’s the same can of mace, but I don’t

               know.” When asked if he would have had more than one can of mace, WATSON

               responded, “No.” WATSON also stated that, at the point of the second screenshot,

               the law enforcement officers had begun removing the barriers and WATSON and

               the crowd were moving toward the U.S. Capitol Building.

               e.      WATSON later acknowledged that, in the second screenshot, he had the can

               of mace pointed out and explained that he had it that way as “more of, like a, don’t

               fucking do anything to me type thing. Not necessarily a threat, but like, a threat of

               definitely going to defend myself if one of y’all decides to shoot some mace at me

               or something.” WATSON also stated that it was directed “to the officers, I reckon.”


       5
          Based on your affiant’s review of the video described above, WATSON does not appear
to speak to anyone else in the crowd while he had the canister in his hand and was facing the camera.
There were times in the video, however, where WATSON was off-screen or had his back to the
camera in which your affiant could not observe whether he was talking to others.

                                                 12
Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 13 of 16




      WATSON also stated that he was scared and didn’t know what was going on at that

      point and that he never figured out how to use the mace.

      f.      WATSON stated that, once inside the U.S. Capitol, the law enforcement

      officer with whom he spoke in a hallway, as described above, asked if WATSON

      had any weapons. WATSON stated that he told the officer he had the can of mace

      someone threw to him, but that WATSON had no plan to use it. WATSON did not

      believe he ever showed the officer the mace, but could not recall for sure. WATSON

      denied being asked to turn over the mace to law enforcement while in the U.S.

      Capitol.

      g.      WATSON claimed that he did not tell your affiant about the mace during the

      January 11 interview when I asked what WATSON had with him at the U.S. Capitol

      “out of not thinking of it or fear, either of the two.” When asked what fear WATSON

      was referring to, WATSON stated, “More punishment, I guess, because I knew I

      didn’t use it on anybody, but I didn’t want it to fuck me up, I guess, if I said I had

      mace, so I figured I’d just leave it out.”

      h.      WATSON also admitted during the January 15 interview to having a pocket

      knife on his waistband while at the U.S. Capitol, which he further described as a

      “flip box cutter” and Gerber knife. WATSON used his hands to show how large the

      knife was and your affiant observed him to be describing a knife of about three to

      four inches in length. According to WATSON, he used the knife to help tear down

      cloth around the Presidential Inauguration scaffolding so the crowd could move

      further up toward the U.S. Capitol Building.

18.   During the January 15 interview, WATSON stated that the mace he had carried on



                                         13
       Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 14 of 16




his person at the U.S. Capitol on January 6, 2021, was at his residence, on his desk, by his computer.

He consented to another search of his residence so that your affiant could locate the mace. Pursuant

to WATSON’s consent, I searched his residence the same day but could not locate the mace. Upon

entering WATSON’s residence, it appeared to your affiant that someone had entered the residence

and removed several items since WATSON had been taken into custody and law enforcement had

conducted its search on January 11, 2021. For example, the computer that WATSON told your

affiant would be present on the desk with the mace canister was not in the residence when your

affiant conducted a search on January 15, 2021.

       19.     I know from my training and experience that mace and pepper spray can cause

serious bodily injury to include: the immediate closing of the eyes, choking, gagging, grasping for

breath, inflammation and acute burning sensations of the affected skin, and burning and swelling

of mucous membranes. These effects can render the victim of the spray disabled.

                                 CONCLUSIONS OF AFFIANT

       20.     Based on the foregoing, your affiant submits that there is probable cause to believe

that WATSON violated:

               a.      18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to

               commit, any act to obstruct, impede, or interfere with any fireman or law

               enforcement officer lawfully engaged in the lawful performance of his official duties

               incident to and during the commission of a civil disorder which in any way or degree

               obstructs, delays, or adversely affects the performance of any federally protected

               function;

               b.      18 U.S.C. § 1752(a) & (b)(1)(A), which makes it a crime to (1) knowingly

               enter or remain in any restricted building or grounds without lawful authority to do;



                                                  14
Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 15 of 16




     (2) knowingly, and with intent to impede or disrupt the orderly conduct of

     Government business or official functions, engage in disorderly or disruptive

     conduct in, or within such proximity to, any restricted building or grounds when, or

     so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government

     business or official functions; (3) knowingly, and with the intent to impede or disrupt

     the orderly conduct of Government business or official functions, obstruct or impede

     ingress or egress to or from any restricted building or grounds; or (4) knowingly

     engage in any act of physical violence against any person or property in any

     restricted building or grounds; or attempt or conspire to do so; and to use or carry a

     deadly or dangerous weapon or firearm during and in relation to any of the

     foregoing. For purposes of Section 1752 of Title 18, a restricted building includes

     a posted, cordoned off, or otherwise restricted area of a building or grounds where

     the President or other person protected by the Secret Service is or will be temporarily

     visiting; or any building or grounds so restricted in conjunction with an event

     designated as a special event of national significance; and

  c. 40 U.S.C. § 5104(e)(2)(D), which makes it a crime for an individual or group of

     individuals to willfully and knowingly (A) enter or remain on the floor of either

     House of Congress or in any cloakroom or lobby adjacent to that floor, in the

     Rayburn Room of the House of Representatives, or in the Marble Room of the

     Senate, unless authorized to do so pursuant to rules adopted, or an authorization

     given, by that House; (B) enter or remain in the gallery of either House of Congress

     in violation of rules governing admission to the gallery adopted by that House or

     pursuant to an authorization given by that House; (C) with the intent to disrupt the



                                       15
       Case 1:21-cr-00513-RBW Document 1-1 Filed 01/17/21 Page 16 of 16




               orderly conduct of official business, enter or remain in a room in any of the Capitol

               Buildings set aside or designated for the use of— (i) either House of Congress or a

               Member, committee, officer, or employee of Congress, or either House of Congress;

               or (ii) the Library of Congress; (D) utter loud, threatening, or abusive language, or

               engage in disorderly or disruptive conduct, at any place in the Grounds or in any of

               the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

               conduct of a session of Congress or either House of Congress, or the orderly conduct

               in that building of a hearing before, or any deliberations of, a committee of Congress

               or either House of Congress; (E) obstruct, or impede passage through or within, the

               Grounds or any of the Capitol Buildings; (F) engage in an act of physical violence

               in the Grounds or any of the Capitol Buildings; or (G) parade, demonstrate, or picket

               in any of the Capitol Buildings.

       21.     As such, I respectfully request that the court issue an arrest warrant for WATSON.


       The statements above are true and accurate to the best of my knowledge and belief.




                                             _________________________________
                                             SPECIAL AGENT MATTHEW MINSHEW
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of January, 2021.
                                                                     2021.01.17
                                                                     16:38:27 -05'00'
                                             ___________________________________

                                             ZIA M. FARUQUI

                                             U.S. MAGISTRATE JUDGE



                                                  16
